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                                UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

  In re:
                                                    Chapter 7
  JUNE M. LANE                                      Case No. 18-22567

                                                    Judge A. BENJAMIN GOLDGAR
                  Debtor(s)

                                       NOTICE OF MOTION
          PLEASE TAKE NOTICE that on September 12, 2018, at the hour of 9:30 A.M., I shall appear
 before the Honorable Judge A. BENJAMIN GOLDGAR, Room 642, of the McKinley Dirksen Building,
 219 South Dearborn Street, Chicago, Illinois, and then and there move the Court pursuant to the
 attached Motion, at which time and place you may appear if you see fit.
                                                            /s/ Timothy R. Yueill
                                                            By: Timothy R. Yueill, Esq.
 Served upon the following parties electronically:
 DAVID GALLAGHER, UPRIGHT LAW, 79 W. MONROE, 5TH FLOOR, CHICAGO, IL 60603 -
 Counsel for Debtor(s)
 STEVEN R RADTKE, 79 W. MONROE STREET, STE 1305, CHICAGO, IL 60603 - Trustee
 PATRICK S. LAYNG, OFFICE OF THE U.S. TRUSTEE, REGION 11, 219 S. DEARBORN ST.,
 ROOM 873, CHICAGO, IL 60604-U.S. Trustee
 and served upon the following parties by mail:
 JUNE M. LANE, 8327 S. HERMITAGE, CHICAGO, IL 60620 - Debtor(s)
                                         Certification of Service
          I, the undersigned, an attorney, hereby certified that I have served a copy of this Notice
 along with the attached Motion upon the parties listed above, as to the Trustees and Debtor(s)’
 counsel via electronic through ECF on August 22, 2018, and as to the Debtor(s) by causing same to
 be mailed in a properly addressed envelope, postage prepaid, in the U.S. Mail Chute at 175 North
 Franklin, Chicago, Illinois, before the hour of 5:00 p.m., on August 22, 2018.

                                                          By: /s/ Timothy R. Yueill


 LAW OFFICES OF IRA T. NEVEL, LLC
 Ira T. Nevel
 Timothy R. Yueill
 Greg Elsnic
 Richard Drezek
 Aaron Nevel
 175 North Franklin St. Suite 201
 Chicago, Illinois 60606
 (312) 357-1125
 Pleadings@nevellaw.com
 MO
 # 18-03281
 THIS FIRM IS A DEBT COLLECTOR
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                                   UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION

  In re:
                                                       Chapter 7
  JUNE M. LANE                                         Case No. 18-22567

                                                       Judge A. BENJAMIN GOLDGAR
                     Debtor(s)

                            MOTION FOR RELIEF FROM AUTOMATIC STAY
            NOW COMES Nationstar Mortgage LLC d/b/a Mr. Cooper, a secured creditor herein, by and
 through its counsel, LAW OFFICES OF IRA T. NEVEL, LLC and moves this Honorable Court for an
 Order granting relief from the Automatic Stay in these proceedings, and in support thereof, states as
 follows:
            1. That the Creditor claims a valid security interest in the property commonly known as 8327
 SOUTH HERMITAGE, CHICAGO, IL 60620.
            2. That said interest is based on a Note and Mortgage previously executed by the Debtor
 on September 26, 2007.
            3. The debtor has executed and delivered or is otherwise obligated with respect to that
 certain promissory note (the “Note”). A copy of the Note is attached hereto as Exhibit A. Movant is
 an entity entitled to enforce the Note.
            4. Pursuant to that certain Mortgage (the “Mortgage”), all obligations (collectively, the
 “Obligations”) of the Debtor under and with respect to the Note and the Mortgage are secured by the
 Property. A copy of the Mortgage is attached hereto as Exhibit B.
            5. All rights and remedies under the Mortgage have been assigned to the Movant pursuant
 to that certain assignment of mortgage, a copy of which is attached hereto as Exhibit C.
            6. That the approximate total balance due this Creditor pursuant to said security interest as
 of August 14, 2018 was $197,964.89.
            7. That enforcement of this security interest has been stayed automatically by operation of
 11 U.S.C. §362 of the Bankruptcy Code upon Debtor filing this Petition on August 10, 2018.
            8. That the Debtor is in default in the performance of the terms and conditions of said Note
 and Mortgage and is contractually due for the October 1, 2017, payment with a total default as of
 August 14, 2018, in excess of $16,157.21.
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         9.   That according to Debtor's Schedule and Statement of Intentions, the current
 approximate value of real property at issue is $156,551.00 and the debtor is surrendering said
 property.
         10. That upon information and belief, no non-exempt equity exists in the real property at
 issue for the benefit of unsecured creditors.
         11. That as a result of the above, this Creditor is entitled to relief from the Automatic Stay
 under 11 U.S.C. §362(d).
         12. That this Court has the authority to order that Rule 4001(a)(3) is not applicable to the
 Order entered in granting this Motion, and this Creditor requests this Court to so order.
         13. In addition to the other amounts due to Movant reflected in this Motion, as of the date
 hereof, in connection with seeking the relief requested herein, Movant has also incurred $750 in legal
 fees and $181 in costs. Movant reserves all right to seek an award or allowance of such fees and
 expenses in accordance with applicable loan documents and related agreements, the Bankruptcy
 Code and otherwise applicable law.
         14. Attached are redacted copies of any documents that support the claim, such as
 promissory notes, purchase order, invoices, itemized statements of running accounts, contracts,
 judgments, mortgages, and security agreements in support of right to seek a lift of the automatic stay
 and foreclosure if necessary.
         WHEREFORE, this Creditor Nationstar Mortgage LLC d/b/a Mr. Cooper, and/or its assigns,
 requests this Honorable Court to enter an Order modifying the Automatic Stay pursuant to 11 U.S.C.
 §362(d) and for other such relief as this Court may deem fit.
 1. Relief from the stay allowing Movant (and any successors or assigns) to proceed under applicable
 non-bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the Property.
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 2. Movant, or its agents, may, at its option, offer, provide and enter into a potential forbearance
 agreement.



                                                  Law Office of Ira T. Nevel, LLC



                                                  /s/ Timothy R. Yueill
                                                  By: Timothy R. Yueill, Esq.
                                                  Counsel for Nationstar Mortgage LLC d/b/a Mr.
                                                  Cooper




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